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1    E. MARTIN ESTRADA
     United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     SEAN D. PETERSON
4    Assistant United States Attorney
     Chief, Riverside Branch Office
5    TRITIA L. YUEN (Cal. Bar No. 255468)
     Assistant United States Attorneys
6    Riverside Branch Office
          3403 Tenth Street, Suite 200
7         Riverside, California 92501
          Telephone: (951) 276-6222
8         Facsimile: (951) 276-6202
          E-mails:    tritia.yuen2@usdoj.gov
9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                ED CR No. 21-111-AB
                                              ED CR No. 18-226-AB
14              Plaintiff,

15                    v.                      GOVERNMENT’S SENTENCING POSITION
                                              FOR DEFENDANT RIGOBERTO FIGUEROA-
16   RIGOBERTO FIGUEROA-BAEZ,                 BAEZ
17              Defendant.                    Sentencing Date:    Dec. 9, 2022
18                                            Sentencing Time:    1:30 p.m.
                                              Location:     Courtroom of the
19                                                          Hon. Andre Birotte
20                                                          Jr.

21

22

23         Plaintiff United States of America, by and through its counsel

24   of record, the United States Attorney for the Central District of

25   California and Assistant United States Attorney Tritia L. Yuen,

26   hereby files its Sentencing Position regarding defendant Rigoberto

27   Figueroa-Baez.

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1         This Sentencing Position is based upon the attached Memorandum

2    of Points and Authorities, the files and records in this case, the

3    United States Probation Office’s Presentence Investigation Report and

4    such further evidence and argument as the Court may permit.

5    Dated: November 25, 2022             Respectfully submitted,

6
                                          E. MARTIN ESTRADA
7                                         United States Attorney

8                                         SEAN D. PETERSON
9                                         Assistant United States Attorney
                                          Chief, Riverside Branch Office
10
                                                       /s/
11
                                          TRITIA L. YUEN
12                                        Assistant United States Attorneys

13
                                          Attorneys for Plaintiff
14                                        UNITED STATES OF AMERICA

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1                      MEMORANDUM OF POINTS AND AUTHORITIES

2    I.   INTRODUCTION

3         Pursuant to a written plea agreement, defendant RIGOBERTO

4    FIGUEROA-BAEZ (“defendant”) pled guilty to Count One of the

5    Indictment, which charged him with Conspiracy to Distribute and

6    Possess with Intent to Distribute Methamphetamine.          Defendant sold an

7    individual whom he believed to be a customer, but who was in fact a

8    confidential source working with law enforcement, approximately 44.2

9    kilograms of methamphetamine.

10        Also pursuant to the plea agreement, defendant admitted

11   allegations two and three of the Petition for Action for Court for

12   Cause regarding the revocation of defendant’s supervised release in

13   United States v. Baez-Perez, ED CR 18-226-AB.         Defendant was on

14   supervised release for his 2018 conviction for Illegal Alien Found in

15   the United States Following Deportation.        (PSR ¶ 53.)     The Court

16   sentenced defendant to 18 months’ custody and three years of

17   supervised release for that offense.       (Id.)

18        The government agrees with the United States Probation and
19   Pretrial Services Office (the “USPPSO”) that the base offense level

20   is 34, pursuant to U.S.S.G. § 2D1.1(c)(1), (a)(5), and that he should

21   receive a two-level reduction for minor role pursuant to U.S.S.G.

22   § 3B1.2.   (PSR ¶¶ 24-27, 31-33.)      The government also agrees with the

23   USPPSO’s determination that defendant is in Criminal History Category

24   V based on 12 criminal history points.        (PSR ¶ 56.)     However, in

25   light of United States v. Lopez, 988 F.3d 431 (9th Cir. 2021),

26   defendant is eligible for the safety valve notwithstanding his
27   substantial criminal history, and the 10-year mandatory minimum

28   sentence does not apply.     With the application of the safety valve,
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1    the resulting total offense level is 27.        At criminal history

2    category V, the resulting guidelines range is 120-150 months.

3          The government respectfully requests the Court sentence

4    defendant to a mid-range sentence of 140 months’ imprisonment,

5    followed by a five-year term of supervised release, and a $100

6    special assessment.     A sentence of 140 months’ imprisonment is

7    warranted based on defendant’s background and role in the offense,

8    which involved large quantities of methamphetamine, his substantial

9    criminal history, and to avoid sentencing disparities, among other

10   reasons.

11   II.   STATEMENT OF FACTS

12         In the written plea agreement and at the change of plea hearing,

13   defendant admitted committing the offense charged in Count One of the

14   Indictment.   These facts are found in paragraph 14 of the plea

15   agreement, and are summarized here:

16         Defendant participated in a conspiracy beginning on an unknown

17   date, and continuing until on or about April 15, 2021, to knowingly

18   and intentionally distribute and possess with intent to distribute
19   44.2 kilograms of methamphetamine.         The investigation started when a

20   confidential source (“CS”) working with DEA arranged to purchase

21   drugs from a drug broker.      The drug broker gave defendant’s phone

22   number to the CS.     Thereafter, defendant called the CS and arranged

23   for the CS to purchase 100 pounds of methamphetamine for $150,000 on

24   April 15, 2021.

25         On April 15, 2021, the CS and defendant met at the Ontario Mills

26   Mall.   Defendant provided the CS with instructions on where to meet
27   by telephone.     When they met, defendant had approximately 113 pounds

28   of methamphetamine in two duffel bags and a cardboard box in the

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1    trunk of his vehicle.     The drugs were approximately 44.2 kilograms of

2    pure methamphetamine.

3    III. SENTENCING GUIDELINES CALCULATIONS: RANGE OF 120 to 150 MONTHS

4         The government submits that the appropriate sentencing

5    guidelines calculation, including that, under Lopez, defendant is

6    safety valve eligible,1 yields a total offense level of 27.           The

7    guidelines calculation is as follows:

8         Base Offense Level:                   34   U.S.S.G. § 2D1.1(a)(5),
                                                     (c)(1)
9         Specific Adjustment: Safety           -2   U.S.S.G. § 2D1.1(b)(18)
          Valve
10
          Specific Adjustment: Minor            -2   U.S.S.G. § 3B1.2(b)
11        Participant
          Acceptance of Responsibility          -3   U.S.S.G. § 3E1.1
12        Total:                                27
13   (PSR ¶¶ 21-39.)    The defendant falls within Criminal History Category
14   V for accumulating 12 criminal history points.         (Id. ¶¶ 54-56.)        The
15

16        1 The government preserves its argument that Lopez was wrongly
     decided. Before the Ninth Circuit’s recent decision in Lopez, it was
17   the government’s view that defendant’s 12 criminal history points
     precluded him from establishing safety-valve eligibility because he
18   could not show that he “did not have . . . more than 4 criminal
     history points.” See 18 U.S.C. § 3553(f)(1)(A); see also United
19   States v. Mejia-Pimental, 477 F.3d 1100, 1104 (9th Cir. 2007)
     (defendant has burden to prove safety-valve eligibility). However,
20   under Lopez, 18 U.S.C. § 3553(f)(1) is satisfied unless a defendant
     fails to meet all three of the criminal history requirements in
21   § 3553(f)(1). See Lopez, 998 F.3d at 433 (“[Section] 3553(f)(1) bars
     a defendant from safety-valve relief only if that defendant has each
22   of (A) more than four criminal[]history points, (B) a prior three-
     point offense, and (C) a prior two-point violent offense.”). The
23   government’s petition for en banc review in Lopez remains pending
     before the Ninth Circuit, and the panel opinion in Lopez now
24   conflicts with published precedents from the Fifth, Seventh, and
     Eighth Circuits. United States v. Palomares, 52 F.4th 640 (5th Cir.
25   2022); United States v. Pace, 48 F.4th 741 (7th Cir. 2022); United
     States v. Pulsifer, 39 F.4th 1018 (8th Cir. 2022). Accordingly, the
26   government concedes that Lopez is currently binding precedent in this
     Circuit, but preserves the argument that the panel decision was
27   wrongly decided and that defendant should not be safety-valve
     eligible.
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1    resulting Guidelines range based on an offense level of 27 within

2    Criminal History Category V is 120 to 150 months’ imprisonment.

3    IV.   A VARIANCE BASED ON METHAMPHETAMINE MIXTURE GUIDELINES IS NOT
           WARRANTED
4

5          Defendant argues for a variance based on the methamphetamine
6    guidelines based on concerns that the Sentencing Commission did not
7    use an empirical approach to developing the drug-trafficking
8    guidelines.    (Def. Pos. 6-7.)    Although the Court has the discretion
9    to vary downward on this basis, the government submits that such a
10   variance is not appropriate in this case.        See Spears v. United
11   States, 555 U.S. 261, 262 (2009) (holding that district courts could
12   vary from the crack cocaine guidelines based on policy
13   disagreements); see also Kimbrough v. United States, 552 U.S. 85
14   (2007); United States v. Carillo, 440 F. Supp. 3d 1148, 1153-1156
15   (E.D. Cal. 2020) (analyzing cases with policy disagreements with the
16   methamphetamine guidelines and declining to grant a variance on this
17   basis).    Although defendant properly should receive an adjustment for
18   being a minor participant, he still played a significant role in the
19   offense.    He communicated directly with the drug customer and
20   negotiated the price of $150,000 for approximately 100 pounds of
21   methamphetamine.    The significant quantity of methamphetamine
22   involved in the deal he coordinated reveals the degree to which his
23   coconspirators trusted him.      Cf. Carillo, 440 F. Supp. 3d at 1154
24   (discussing the importance of a defendant’s culpability in the
25   offense rather than only emphasizing the quality and purity of the
26   drugs); United States v. Johnson, 379 F. Supp. 3d 1213, 1220 (M.D.
27   Ala. 2019) (“the offender’s role in the crime is more useful for
28   determining culpability than the quantity of drugs involved.”).
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1    Accordingly, given his role and the circumstances of the offense, a

2    variance based on the methamphetamine guidelines is not warranted.

3    V.   GOVERNMENT’S RECOMMENDED SENTENCE: 140 MONTHS’ IMPRISONMENT AND
          5 YEARS’ SUPERVISED RELEASE
4

5         The Sentencing Guidelines are the “starting point and the

6    initial benchmark” for sentencing.         United States v. Carty, 520 F.3d

7    984, 991 (9th Cir. 2008).      After calculating the Guidelines range,

8    the Court must consider “the nature and circumstances of the

9    offense,” and “the history and characteristics of the defendant.”             18

10   U.S.C. § 3553(a)(1).     The Court should then consider the need for the

11   sentence imposed:

12             (A) to reflect the seriousness of the offense, to promote

13             respect for the law and to provide just punishment for the

14             offense;

15             (B) to afford adequate deterrence to criminal conduct;

16             (C) to protect the public from further crimes of the

17             defendant; and

18             (D) to provide defendant with needed educational or
19             vocational training, medical care, or other correctional

20             treatment in the most effective manner[.]

21    18 U.S.C. § 3553(a)(2).     The Court should impose a sentence that is

22   sufficient, but not greater than necessary, to satisfy these

23   statutorily prescribed sentencing objectives.         18 U.S.C. § 3553(a).

24        A.   140 Months’ Sentence Appropriate Based on Nature of the
               Offenses and Defendant’s History and Characteristics
25

26        A court should consider the nature and circumstances of the

27   offense and the history and characteristics of defendant.           See 18

28   U.S.C. § 3553(a)(1).     A sentence of 140 months’ imprisonment is

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1    appropriate because of the significant amount of drugs defendant

2    possessed with intent to sell to the CS.        In addition, defendant’s

3    lengthy criminal history includes multiple convictions related to

4    narcotics and his repeated illegal reentries into the United States.

5    He was most recently before this Court in 2018, at which time he was

6    advised that he could not reenter the United States.          Nevertheless,

7    he not only reentered the United States, but engaged in criminal

8    conduct thereafter.

9         In his sentencing paper, defendant notes that he owns property

10   in Mexico and intends to return there when released from custody.

11   (Def. Sent. at 2, 6, 10.)      However, Exhibit D to defendant’s

12   sentencing position paper indicates that he has possessed this land

13   since October 18, 2002, with the certificate being recorded on July

14   16, 2009.   (Def. Sent. Ex. D).)      This pre-dates his three prior

15   illegal reentry offenses.      (PSR ¶¶ 50-53.)     This suggests that simply

16   having options for where to live and how to make a livelihood in

17   Mexico are not enough to keep defendant from illegally reentering the

18   United States or engaging in drug trafficking offenses in the United
19   States.   (PSR ¶ 53.)

20        While the government believes that a sentence of time served

21   with no supervision to follow is appropriate for the supervised

22   release violation in Case No. ED CR 18-226-AB due to defendant’s

23   acceptance of responsibility on both cases, a significant amount of

24   time in custody in this case is still needed.         A custodial term of

25   140 months’ imprisonment would be the low-end of the guidelines range

26   had defendant not qualified for safety valve.         It is an appropriate
27   sentence that properly reflects defendant’s history, characteristics,

28   and conduct.

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1          B.   Unwarranted Disparities Can be Avoided by Imposing a
                Sentence within the Guideline Range
2

3          The Court should minimize sentencing disparities among similarly

4    situated defendants.     18 U.S.C. § 3553(a)(6).      One way courts ensure

5    consistent sentences for similarly situated defendants across the

6    country is by applying the Guidelines uniformly.          See United States

7    v. Treadwell, 593 F.3d 990, 1011 (9th Cir. 2010) (“Because the

8    Guidelines range was correctly calculated, the district court was

9    entitled to rely on the Guidelines range in determining that there

10   was no ‘unwarranted disparity’ . . . .”); see also Gall v. United

11   States, 552 U.S. 38, 54 (2007) (“[A]voidance of unwarranted

12   disparities was clearly considered by the Sentencing Commission when

13   setting the Sentencing Guidelines ranges.”).         A Guidelines-sentence

14   is appropriate where a defendant, as in this case, does not fall

15   outside the “‘minerun of roughly similar cases’ considered by the

16   Sentencing Commission in formulating the Guidelines.”           Carter, 560

17   F.3d at 1121-22.    A within-Guidelines-range sentence of 140 months’

18   imprisonment appropriately reflects defendant’s culpability and
19   history.

20   VI.   CONCLUSION

21         For the foregoing reasons, the government respectfully requests

22   that this Court sentence defendant to 140 months’ imprisonment

23   followed by a 5-year term of supervised release, and a $100 special

24   assessment.

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1                               CERTIFICATE OF SERVICE

2         I, Rae Costa, declare:

3         That I am a citizen of the United States and a resident of or
4    employed in Riverside County, California; that my business address
5
     is the Office of United States Attorney, 3403 Tenth Street, Suite
6
     200, Riverside, California 92501; that I am over the age of 18; and
7
     that I am not a party to the above-titled action;
8
          That I am employed by the United States Attorney for the
9

10   Central District of California, who is a member of the Bar of the

11   United States District Court for the Central District of California,
12   at whose direction I served a copy of:        GOVERNMENT’S SENTENCING
13
     POSITION FOR DEFENDANT RIGOBERTO FIGUEROA-BAEZ
14

15    ☐ Placed in a closed envelope           ☐ Placed in a sealed envelope
        for collection and inter-               for collection and mailing
16      office delivery, addressed as           via United States mail,
        follows:                                addressed as follows:
17

18    ☐ By hand delivery, addressed           ☒ By email delivery, as
        as follows:                             follows: SEE ATTACHED
19

20
      ☐ By messenger, as follows:             ☐ By Federal Express, as
21                                              follows:

22
          This Certificate is executed on November 25, 2022, in
23
     Riverside, California.     I certify under penalty of perjury that the
24
     foregoing is true and correct.
25

26
                                                /s/
27                                            Rae Costa
                                              Legal Assistant
28
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1                                      ATTACHMENT

2    USPO Officer Jonathan Bernal
     Sonya_Avagi@cacp.uscourts.gov
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